        Case 1:10-cv-03194-TWT Document 21 Filed 09/22/11 Page 1 of 4



                 IN THE UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA
                           ATLANTA DIVISION

FRANCISCO CASTILLO and JORGE                     :
CASTILLO,                                        :
                                                 :
 Plaintiffs,                                     :   Civil Action Number:
                                                 :
vs.                                              :   1:10-CV-03194-TWT
                                                 :
BUILDING CLEANING SOLUTIONS,                     :
INC., and AARON HUDSON,                          :
                                                 :
Defendants.                                      :

               STIPULATION OF DISMISSAL WITH PREJUDICE


      COME NOW Plaintiffs and Defendants and, pursuant to Fed. R. Civ. P.
41(a)(1)(A)(ii), agree to the dismissal with prejudice of this action, with each party
to bear their own respective costs.
          Case 1:10-cv-03194-TWT Document 21 Filed 09/22/11 Page 2 of 4



        This the 22nd day of September, 2011.


  SO STIPULATED:                                SO STIPULATED:

DELONG, CALDWELL BRIDGERS &                T. ROBERT REID, LLC
FITZPATRICK, LLC                           s/ Kenneth N. Winkler
s/ Kevin D. Fitzpatrick, Jr.               Tilden Robert Reid, II
Kevin D. Fitzpatrick, Jr.                  Georgia Bar No. 600138
Georgia Bar No: 262375
                                           1030 Woodstock Road
s/ Charles R. Bridgers                     Suite 3112
Charles R. Bridgers                        Roswell, Georgia 30075
Georgia Bar No. 080791                     Telephone (678) 743-1064
                                           Facsimile (404) 549-4136
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101 Marietta Street, N. W.
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Counsel for Plaintiffs
        Case 1:10-cv-03194-TWT Document 21 Filed 09/22/11 Page 3 of 4



                IN THE UNITED STATES DISTRICT COURT
                   NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION

FRANCISCO CASTILLO and JORGE                    :
CASTILLO,                                       :
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 Plaintiffs,                                    :    Civil Action Number:
                                                :
vs.                                             :    1:10-CV-03194-TWT
                                                :
BUILDING CLEANING SOLUTIONS,                    :
INC., and AARON HUDSON,                         :
                                                :
Defendants.                                     :
                        CERTIFICATE OF COUNSEL

      Pursuant to N.D. Ga. R. 7.1, the below signatory attorney certified that this

pleading was prepared with times New Roman (14 point), one of the fonts and

point selections approved by the Court in local N.D. Ga. R. 5.1 C.

                                       DELONG, CALDWELL BRIDGERS &
                                       FITZPATRICK, LLC

                                       s/Kevin D. Fitzpatrick, Jr.
                                       Kevin D. Fitzpatrick, Jr.
                                       Ga. Bar No. 262375
                                       Counsel for Plaintiffs
        Case 1:10-cv-03194-TWT Document 21 Filed 09/22/11 Page 4 of 4



             IN THE UNITED STATES DISTRICT COURT
                NORTHERN DISTRICT OF GEORGIA
                      ATLANTA DIVISION
FRANCISCO CASTILLO and JORGE       :
CASTILLO,                          :
                                   :
 Plaintiffs,                       : Civil Action Number:
                                   :
vs.                                : 1:10-CV-03194-TWT
                                   :
BUILDING CLEANING SOLUTIONS,       :
INC., and AARON HUDSON,            :
                                   :
Defendants.                        :
                   CERTIFICATE OF SERVICE

      I hereby certify that on this date, I electronically filed the foregoing

STIPULATION OF DISMISSAL WITH PREJUDICE using the CM/ECF

system, which will automatically send email notification of such filing to the

following attorneys of record:

                               Tilden Robert Reid, II
                              1030 Woodstock Road
                                    Suite 3112
                              Roswell, Georgia 30075

Respectfully submitted this 22nd day of September, 2011.

                                        DELONG, CALDWELL BRIDGERS &
                                        FITZPATRICK, LLC

                                        s/Kevin D. Fitzpatrick, Jr.
                                        Kevin D. Fitzpatrick, Jr.
3100 Centennial Tower                   Ga. Bar No. 262375
101 Marietta Street, N.W.               Counsel for Plaintiffs
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